Case 1:19-cv-00340-JJM-PAS Document 59-2 Filed 09/08/20 Page 1 of 3 PageID #: 534




                                 EXHIBIT B
Case 1:19-cv-00340-JJM-PAS Document 59-2 Filed 09/08/20 Page 2 of 3 PageID #: 535




                                                                            Supreme Court

                                                                            No. 2019-125-A.




               Margarita Palange


                        v.



                Steven Palange



                                              ORDER
           The motion to     dismiss, as prayed,   is   granted.


           The motion   to   remand, as prayed,    is   denied as moot.


           The motion   for articulation, as prayed,      is   denied.


           This matter shall be closed.


           Entered as an Order of this Court this         qmday of June 2019.

                                                        By Order,




                                                        Q&m ”WI
                                                           erk
                                                                          cm
                                                                          WV
Case 1:19-cv-00340-JJM-PAS Document 59-2 Filed 09/08/20 Page 3 of 3 PageID #: 536



                                                                                     Supreme Court

                                                                                     No. 2019-125-A.




                  Margarita Palange


                         v.



                   Steven Palange



                                                ORDER
            The   appellant’s   motion   to vacate the   remand order       is   denied, as this matter   was

     dismissed and closed by an order of this Court dated June         7,   2019.


            The   appellant’s motion for articulation    is   denied, as this matter     was dismissed and

     closed by an order ofthis Court dated June 7, 2019.


            Entered as an Order of this Court this       Zovday of June 2019.


                                                    By Order,




                                                   W WWO lerk
